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June 26, 2019

Hon. Leda Dunn Wettre

United States District Court for the
District of New Jersey

Martin Luther King Building &
U.S. Courthouse

50 Walnut Street

Newark, NJ 07101

Re: Roofer’s Pension Fund v. Papa, et al., No. 16-CV-2805-MCA-LDW

Agreed Request to Extend Certain Deadlines
Dear Judge Wettre:

This firm, together with Greenbaum, Rowe, Smith & Davis LLP, represents Defendant
Perrigo Company ple (“Perrigo”) in the above-captioned action, With the consent of all parties,
we write to respectfully request an extension from July 1, 2019 to August 30, 2019 of the
production completion deadline, an extension of the September 16, 2019 fact discovery deadline
to December 16, 2019 in the above-captioned action, and an extension of the November 15, 2019
fact discovery deadline in the Individual Actions to February 15, 2020.!

On April 18, 2019, the Court ordered that Defendants meet a substantial production
completion deadline of June 3, 2019, and a production completion deadline of July 1, 2019.
Dkt. 190. Perrigo met the substantial production completion deadline, producing over 1.8
million pages in this action as of June 3, 2019. Since then, Perrigo has made additional
productions so that the total production now exceeds 1.9 million pages. Perrigo anticipates
making a further production on July 1, 2019.

 

The Individual Actions are: Carmignae Gestion, S.A. v. Perriga Co, ple et al., No. 2:17-cv-10467 (D.N.J.);
Manning & Napier Advisors, LLC v. Perrigo Co. ple et al., No. 2:18-cv-00674 (D.N.J.); Mason Capital LP. et al. v.
Perrigo Co. pie et al., No. 2:18-cv-01119 (D.N.J.); Pentwater Equity Opportunities Master Fund Ltd. et al. v.
Perrigo Co, ple et al, No. 2:18-cv-01121 (D.N.J.); Harel insurance Company, Ltd, et al. v. Perrigo Co. ple et al,
No. 2:18-cv-02074 (D.N.J.); First Manhattan Co. v. Perrige Co, ple et al., No. 2:18-cv-02291 (D.N.J.); TIAA-CREF
Investinent Management, LLC et al. v. Perrigo Co. ple et al., No. 2:18-cv-08175 (D.N.J.); Nationwide Mutual Funds
et al. v. Perriga Co. plc et al., No. 2:18-cv-15382 (D.N.J.); WCM Alternatives: Event-Driven Fund et al. v. Perrigo
Co. ple et al., No, 2;18-cv-16204 (D.N.J.); Hudson Bay Master Fund Ltd. et al. v. Perrigo Co. ple et al., No. 2:18-
cv-16206 (D.N.J.); Schwab Capital Trust et al. v. Perrigo Co. ple et al., No. 2:19-cv-03973 (D.N.1.); Aberdeen
Canada Funds-Global Equity Fund et al. v. Perrigo Co. pic et al., No. 2:19-cv-06560 (D.N.J.).

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Fried, Frank, Harris, Shriver & Jacobson LLP

Hon. Leda Dunn Wettre
June 26, 2019
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On May 31, 2019, three days before the substantial completion deadline, Lead Plaintiffs
requested that Perrigo add thirteen additional custodians with respect to search terms focused on
generic prescription drug pricing allegations. On June 14, 2019, Lead Plaintiffs requested that
Perrigo add two more additional custodians, for a total of fifteen additional custodians. After
meeting and conferring in good faith, the parties agreed on June 20, 2019 to the addition of
thirteen of these additional custodians provided that the production deadlines were extended.

With respect to these thirteen additional custodians, Perrigo anticipates that it can
complete the collection, search, review, and production of responsive materials by August 30,
2019. The parties met and conferred in good faith regarding extending the production and fact
discovery deadlines and agreed on June 26, 2019 to seek the Court’s approval of both an
August 30, 2019 production completion deadline and a December 16, 2019 fact discovery
deadline (February 15, 2020 for the Individual Actions).

Separately, Perigo is currently in the process of preparing a privilege log with respect to
documents from the previously-agreed-upon custodians and anticipates that this process will not
be complete by July 1, but will be complete well in advance of the proposed August 30, 2019
production completion deadline. As Perrigo prepares its privilege log, Perrigo is continuing to
evaluate all documents identified as privileged in order to apply redactions where possible or to
release documents in full where possible. As such, there likely will be some number of
documents from the previously-agreed-upon custodians that will be produced after July 1, in
addition to the documents from the thirteen additional custodians.

For these reasons, the parties respectfully request that the July 1, 2019 production
completion deadline be extended to August 30, 2019, that the fact discovery deadline for the
above-captioned action be extended from September 16, 2019 to December 16, 2019, and that
the fact discovery deadline for the Individual Actions be extended from November 15, 2019 to
February 15, 2020.

Respectfully submitted,
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_Jémes E. Anklam
and

GREENBAUM, ROWE, SMITH & DAVIS LLP

Alan S. Naar

cc via ECF: Counsel for All Parties
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/ Leda D. Wettre, USMJ
